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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA

v.

EDUARDO RODRIGUEZ-RENTERIA                     CASE NO: 8:09-CR-223-T-30EAJ


                                       ORDER

        THIS CAUSE comes before the Court sua sponte. A review of the file indicates

the Defendant has failed to respond to this Court’s Order (Dkt. #140) issued on April 9,

2013. Accordingly, the Court will construe Defendant’s Motion to Dismiss (Dkt. #137)

as a motion to vacate, correct or set aside sentence pursuant to 28 U.S.C. § 2255. It is

therefore

        ORDERED AND ADJUDGED that:

        1.    The Clerk is directed to open a civil case and docket Defendant’s Motion

(Dkt. #137) as a motion to vacate, correct or set aside sentence pursuant to 28 U.S.C. §

2255.

        2.    Defendant’s Motion (Dkt. #137) filed in the above-referenced criminal case

is terminated as moot.

        DONE and ORDERED in Tampa, Florida, this 28th day of May, 2013.




Copies furnished to:
Counsel/Parties of Record
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